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Attorneys for Defendant TWENTY-TWO SHOES LLC,


                          IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

                                      EUGENE DIVISION

 DAVID STAPLETON in his capacity as
 COURT-APPOINTED RECEIVER for the                CASE NO.
 RECEIVERSHIP ENTITY, including
                                                 DEFENDANT’S NOTICE OF REMOVAL
 ZADEH KICKS, LLC dba ZADEH KICKS,               OF CIVIL ACTION
 an Oregon limited liability corporation,

             Plaintiff,

       v.

 TWENTY-TWO SHOES LLC, a New Jersey
 limited liability company,

             Defendant.


                          NOTICE OF REMOVAL OF CIVIL ACTION

       PLEASE TAKE NOTICE THAT under 28 U.S.C. §§ 1332, 1441, and 1446, Defendant

Twenty-Two Shoes LLC hereby removes this action from the Circuit Court of the State of Oregon

for the County of Lane, Case No. 23CV38807, where it is currently pending, to the United States

District Court for the District of Oregon, Eugene Division. This case is removable under 28 U.S.C.

§ 1332, in that there is complete diversity of citizenship between Plaintiff and Defendant and the




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amount in controversy exceeds the sum of $75,000, exclusive of interest and costs. In support of

this Notice of Removal, Defendant alleges as follows:

   1. On or about November 1, 2023, Plaintiff initiated this action in the Circuit Court of the

State of Oregon for the County of Lane, as Case No. 23CV38807.

   2. On or about December 20, 2023, Defendant received a mailing with a Summons and the

Complaint. Prior to this date, Defendant had not received any other service. A true and correct

copy of all process, pleadings and orders mailed upon Defendant is attached hereto as Exhibit A

and incorporated herein by reference.

   3. Under Fed. R. Civ. P. Rule 6(a) and 28 U.S.C. § 1446(b), this Notice of Removal is timely,

as it is filed within thirty (30) days after Defendant received the mailing of the initial pleading on

which the aforesaid action is based.

   4. The United States District Court for the District of Oregon, Eugene Division, is the federal

judicial district embracing the Circuit Court of the State of Oregon for the County of Lane, where

this suit was originally filed. Venue is therefore proper under 28 U.S.C. §§ 117 and 1441(a).



                                DIVERSITY OF CITIZENSHIP

   5. This is a civil action over which this Court has original jurisdiction pursuant to 28 U.S.C.

§ 1332(a). This action may be removed pursuant to 28 U.S.C. § 1441 because the action involves

a controversy between citizens of different states, the Defendant TWENTY-TWO SHOES LLC is

not a citizen of Oregon, and the amount in controversy exceeds $75,000.

   6. Upon information and belief, Plaintiff David Stapleton, in his capacity as court-appointed




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receiver for Zadeh Kicks LLC 1, was, when he filed the complaint, and is now a citizen and resident

of the state of Oregon. See Complaint, ¶ 1.

    7. Defendant Twenty-Two Shoes, LLC, was, when the Plaintiff filed the complaint, and is

now, a New Jersey limited liability corporation incorporated under the laws of New Jersey, with

its principal place of business in New Jersey. See Complaint, ¶ 2. Twenty-Two Shoes LLC’s sole

member and manager is Glenn McGinnis, who is a resident of the state of New Jersey. Under 28

U.S.C. § 1332(c)(1), Defendant is a citizen of the state of New Jersey.

    8. Diversity of citizenship is present because Defendant Twenty-Two Shoes LLC is a citizen

of the state of New Jersey and, upon information and belief, Plaintiff David Stapleton is not a

citizen of the state of New Jersey.

    9. Based on Plaintiff’s claims and allegations, an amount in excess of $75,000, plus interest,

is in controversy. Complaint, ¶ 21; Prayer for Relief, ¶ B.

    10. A copy of this Notice of Removal is being filed with the Circuit Court of the State of

Oregon for the County of Lane, as provided by law, and written notice will be served upon Plaintiff

in accordance with 28 U.S.C. § 1446(d).

    11. The prerequisites for removal under 28 U.S.C. § 1441 have been met.

    12. The allegations of this Notice of Removal are true and correct and this cause is removable

to the United States District Court for the District of Oregon, Eugene Division.

    13. If any question arises as to the propriety of the removal of this action, Defendant

respectfully requests the opportunity to present a brief and oral argument in support of its position

that this cause is removable.



1
 Zadeh Kicks LLC is an Oregon Limited Liability Company. Upon information and belief, the sole member and
manager of Zadeh Kicks LLC is a resident of the state of Oregon.



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   14. By this Notice of Removal, Defendant does not waive any objections it may have as to

service, jurisdiction or venue, or any other defenses or objections it may have to this action.

Defendant intends no admission of fact, law, or liability by this Notice, and expressly reserves all

defenses, motions, and/or pleas.

       WHEREFORE, Defendant, removes the above-captioned action from the Circuit Court

of the State of Oregon for the County of Lane to the United State District Court for the District of

Oregon, Eugene Division.



DATED: January 10, 2024

                                                       /s/ Justin T Rusk
                                                     JUSTIN RUSK, OSB No. 175946
                                                     Janet Hoffman & Associates LLC
                                                     1000 SW Broadway, Ste. 1500
                                                     Portland, OR 97205
                                                     Phone: (503) 222-1125
                                                     Email: Justinr@jhoffman.com
                                                     Attorney for Defendant Just My Kicks, LLC




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on the 10th day of January, 2024, I caused to be served the following

DEFENDANT’S NOTICE OF REMOVAL on:


Daniel Larsen
805 SW Broadway, Suite 1500
Portland, OR 97205-3325
Counsel for Plaintiff

Oren Bitan
1000 Wilshire Blvd., Suite 1500
Los Angeles, CA 90017-1730
Counsel for Plaintiff

By: U.S. Mail and ECF service.

                                                      /s/ Justin T Rusk
                                                    JUSTIN RUSK, OSB No. 175946




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